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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




 ------------------------------------------------    :
 UNITED STATES OF AMERICA                            :
                                                     : CASE NO. 5:05 CR 131
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     :
 AGNIESZKA M. ROZEK                                  : ORDER ACCEPTING PLEA AGREEMENT
                                                     : AND JUDGMENT AND NOTICE OF
                                      Defendant      : HEARING
 -----------------------------------------------     :

UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge William H. Baughman, Jr. regarding the change of plea hearing

and plea agreement of Agnieszka M. Rozek which was referred to the Magistrate Judge

with the consent of the parties.

       On 16 March 2005, the government filed a one-count indictment against

Agnieszka M. Rozek for conspiracy to possess with the intent to distribute and

distribution of a controlled substance in violation of 21 U.S.C. § 846. On 15 April 2005,

a hearing was held in which Agnieszka M. Rozek entered a plea of not guilty before

Magistrate Judge Patricia A. Hemann. On 3 October 2006, Magistrate Judge Baughman

received Agnieszka M. Rozek’s plea of guilty and issued a Report and Recommendation

(“R&R”) concerning whether the plea should be accepted and a finding of guilty

entered.
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       Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

       On de novo review of the record, the Magistrate Judge's R&R is adopted.

Agnieszka M. Rozek is found to be competent to enter a plea. She understands her

constitutional rights. She is aware of the charges and of the consequences of entering

a plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

       Therefore, Agnieszka M. Rozek is adjudged guilty of Count One in violation of 21

U.S.C. § 846.

       Sentencing will be:



                       2 January 2007 at 11:00 a.m.

                       Courtroom 19-A
                       19th Floor United States District Court
                       Carl B. Stokes United States Court House
                       801 West Superior Avenue
                       Cleveland, Ohio 44113


       IT IS SO ORDERED.


                                        /s/Lesley Wells
                                        UNITED STATES DISTRICT JUDGE

Dated: 2 November 2006




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